                                                                                              DES 3 0 20211
                              UNITED STATES DISTRICT COURT                          <.;11::lrK, u . t>. o ,strict Cuui"t
                             EASTERN DISTRICT OF TENNESSEE                         Eastern District of Tennessee
                                    AT GREENEVILLE                                            At Greeneville

  UNITED STATES OF AMERICA                       )
                                                 )          No.      :?: A) - c r--11~
          V.                                     )
                                                 )          Judge:     fu.e-tc/VU;p, 1?Je.--
  STERLING KNIGHT                                )
  PHARMACEUTICALS, LLC                           )


                                        PLEA AGREEMENT

         The United States of America, by the United States Attorney for the Eastern District of

  Tennessee ("USA TNE"), the United States Depaitment of Justice, Consumer Protection Branch

  ("USDOJ-CPB"), the defendant, STERLING KN1GHT PHARMACEUTICALS, LLC, and the

  defendant's attorneys, A. Lee Bentley, III and Jason P. Mehta, have agreed upon the following:

          1.     The defendant will waive indictment and arraignment and plead guilty to an

  information charging the defendant with the following offense:

                 (a)     Count One - Conspiracy to Commit Health Care Fraud: the defendant

  knowingly, intentionally, and unlawfully conspired with one or more other persons to commit

  Health Care Fraud in violation of 18 U.S.C. § 1347, and one or more such persons did an act to

  effect the object of the conspiracy, all in violation of 18 U .S.C. § 371 . The maximum

  punishment for this offense is a fine not to exceed $500,000 or twice the gross gain or gross loss

  resulting from the offense, whichever is greatest (see 18 U.S.C. § 3571(c), (d)), and a $400

  special assessment (see 18 U.S.C. § 3013(a)(2)(B)).

         2.      In consideration of the defendant's guilty pleas:

                 (a)    USA TNE agrees not to further prosecute the defendant in the Eastern

  District of Tennessee for any other non-tax criminal offenses committed by the defendant that



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  are related to the charges contained in the information in this case and that are known to

  USA TNE at the time this plea agreement is signed by both pmties.

                 (b)     USDOJ-CPB agrees not to further prosecute the defendant in any district

  in the United States for any other non-tax criminal offenses committed by the defendant that are

  related to the charges contained in the information in this case and that are known to USDOJ-

  CPB at the time this plea agreement is signed by both parties.

          3.     The defendant has read the information, discussed the charge and possible

  defenses with defense counsel, and understands the crime charged.

         4.      In suppo1t of the defendant's guilty plea, USA TNE, USDOJ-CPB, and the

  defendant agree and stipulate to the following facts, which satisfy the offense elements. These

  are the facts submitted for purposes of the defendant's guilty plea. They do not necessarily

  constitute all of the facts in the case. Other facts may be relevant to sentencing. The defendant,

  USA TNE, and USDOJ-CPB retain the right to present additional facts to the Court to ensure a

  fair and appropriate sentence in this case.

                 (a)     From on or about June 1, 2016 through on or about April 1, 2018, the

  defendant conspired with HealthRight LLC, Scott Roix, Larry Everett Smith, Alpha-Omega

  Pharmacy LLC ("Alpha-Omega"), Germaine Pharmacy Inc. ("Germaine"), ERX Consultants

  LLC dba Zoetic Pharmacy ("Zoetic"), Tanith Enterprises LLC ("Tanith"), ULD Wholesale

  Group ("ULD"), Arun Kapoor, Mihir Taneja, and others to implement a scheme and artifice to

  knowingly and intentionally defraud health care benefit programs into paying for misbranded

  prescription drugs that had been introduced into interstate commerce, including, without

  limitation, by causing them to be mailed from Florida to the Eastern District of Tennessee.




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                  (b)     The deceived health care benefit programs include the pharmacy benefit

  managers ("PBMs") CVS Caremark, Express Scripts, Medlmpact, Prime Therapeutics, and

  others.

                  (c)     During the time period of this conspiracy, the defendant was operated by

  Arun Kapoor and Mihir Taneja as a "virtual manufacturer" to label and distribute prescription

  drugs and other products manufactured by third paiiies.

                  (d)     Among other products, Sterling Knight labeled and packaged several

  products, including Fenortho 200 mg capsules (NDC: 69336-0113-10), Lidopril (69336-0825-

  01), Lidopril XR (NDC: 69336-0826-01), Lidocaine 5% (NDC: 69336-0103-35), Durachol

  (69336-03-0030), and Cifrazol (69336-03-1030).

                  (e)     Fen01iho, Lidopril, Lidopril XR, and Lidocaine were all prescription

  "drugs" as that term is defined in 21 U.S .C. § 321 (g)(l ). In particular, they were (A) articles

  recognized in the official United States Pharmacopoeia, official Homoeopathic Pharmacopoeia

  of the United States, or official National Formulary, or any supplement to any of them; or

  (B) articles intended for use in the diagnosis, cure, mitigation, treatment, or prevention of disease

  in man or other animals; or (C) articles (other than food) intended to affect the structure or any

  function of the body of man or other animals; or (D) articles intended for use as a component of

  any article specified in clause (A), (B), or (C).

                  (f)    Durachol and Cifrazol were not prescription drugs, but were instead non-

  prescription vitamin capsules containing 1 mg of folic acid and 3,775 units of Vitamin D. The

  defendant bought millions of these vitamin capsules from a manufacturer that was not licensed

  by the Food and Drug Administration ("FDA") to manufacture drugs.




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                 (g)     The defendant then repackaged these non-prescription vitamins as

  prescription-only drugs, assigned them a national drug code ("NDC"), branded them with the

  Sterling Knight label and the brand names "Durachol" and "Cifrazol", and bottled them in 30-

  count bottles, with the intent to sell them to wholesalers and pharmacies as though they were

  prescriptions drugs, knowing that those pharmacies would then bill them to PB Ms as though they

  were prescription drugs.

                 (h)     The defendant fraudulently registered Durachol and Cifrazol as

  prescription drugs with the FDA, First Databank, and Medispan, even though it knew that these

  products were not prescription drugs. Doing this was essential in order to increase the likelihood

  that the PBMs would pay for them.

                 (i)     The defendant then sold thousands of bottles of Durachol and Cifrazol to

  Smith and his wholesaler, ULD Wholesale, knowing and intending that Smith would dispense

  them to patients throughout the United States, including in the Eastern District of Tennessee.

                 U)      Beginning on or about the summer of 2015, the defendant knew that Mihir

  Taneja, Larry Smith and Scott Roix agreed that Scott Roix would use the HealthRight

  telemarketing platform to obtain thousands of electronic prescriptions specifically for the

  products distributed by the defendant, specifically Fenortho, Lidopril, Lidopril XR, Lidocaine,

  Durachol, and Cifrazol.

                 (k)     Scott Roix then obtained thousands of those prescriptions by using

  HealthRight's telemarketing platform to deceive patients into providing their personal

  prescription insurance information to HealthRight, including by placing fraudulently misleading

  ads on various websites.




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                 (I)     Roix then sold those prescriptions to Larry Smith for approximately $500

  for each of those prescriptions.

                 (m)     At all times during the conspiracy, the defendant knew that Scott Roix was

  providing signed doctors prescriptions to Alpha-Omega, Germaine, and Zoetic for Sterling

  Knight's products - Fen01tho, Lidopril, Lidopril XR, Lidocaine, Durachol, and Cifrazol - even

  though: (i) the patients were rarely speaking with the prescribing doctors; (ii) the patients had no

  pre-existing relationship with the prescribing doctors; (iv) the prescriptions that resulted from

  Roix's and HealthRight's telemarketing platform were not issued pursuant to a valid doctor-

  patient relationship; and (v) the patients didn't know they would be receiving prescriptions in the

  mail.

                 (n)     After arranging for the purchase of prescriptions from Scott Roix, the

  defendant, Mihir Taneja, and Larry Smith needed a way to bill the PBMs for these prescriptions.

                 (o)     On July 7, 2016, May 26, 2017, and July 3 2017, the defendant knew that

  Mihir Taneja and Larry Smith arranged for trusted confederates - in particular three men whose

  initials are B.H., S.C., and K.C. - to purchase Alpha-Omega, Germaine, and Zoetic using money

  borrowed from a financial institution pursuant to personal guarantees from Mihir Taneja and

  Smith.

                 (p)     Mihir Taneja and Smith arranged for this "straw ownership" because they

  knew that the PBMs would terminate their contracts with Alpha-Omega, Germaine, and Zoetic -

  thereby eliminating their ability to bill for prescriptions - if they knew that Smith owned and

  controlled them. Mihir Taneja and Smith knew this because, prior to the conspiracy, Smith

  owned a pharmacy that was investigated for fraud, some of the PB Ms, including Express Scripts,

  found out about the investigation, and terminated that prior pharmacy. Mihir Taneja knew that



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  Smith controlled the day-to-day operations of Alpha-Omega, Germaine, and Zoetic using

  Smith's company, Tanith.

                 (q)     Mihir Taneja and Larry Smith also agreed that the defendant would

  provide Fenortho, Lidopril, Lidopril XR, Lidocaine, Durachol, and Cifrazol to Larry Smith so

  that he had a product to dispense to the deceived patients after buying corresponding fraudulent

  prescriptions from Scott Roix.

                 (r)     The defendant sold Fenmtho, Lidopril, Lidopril XR, Lidocaine, Durachol,

  and Cifrazol to Larry Smith's company, ULD Wholesale, knowing that Smith then mailed these

  products from Alpha-Omega, Germaine, and Zoetic to patients throughout the United States,

  even though these prescriptions were not issued pursuant to a valid doctor-patient relationship

  and even though the patients didn't know they were going to receive prescriptions in the mail.

                 (s)     The defendant knew that Larry Smith, through Tanith, caused Alpha-

  Omega, Germaine, and Zoetic to fraudulently bill the PB Ms for the prescriptions purchased from

  Scott Roix for Fenmtho, Lidopril, Lidopril XR, Lidocaine, Durachol, and Cifrazol, even though

  these prescriptions were not issued pursuant to a valid doctor-patient relationship.

                 (t)     From on or about June 1, 2016 through the end of 2017, the defendant

  continued to sell Fenmtho, Lidopril, Lidopril XR, Lidocaine, Durachol, and Cifrazol to Smith,

  knowing and intending that these products would be dispensed to patients throughout the United

  States, even though they were prescribed in the absence of a doctor-patient relationship.

                 (u)     The defendant, Taneja, Kapoor, and Smith also knew that when billing the

  PBMs for prescriptions, Alpha-Omega, Germaine, and Zoetic were required to collect patient

  copays, and that if they weren't able to do so, the PBMs would terminate those pharmacies'

  ability to bill for prescriptions. However, the defendant, Taneja, Kapoor, and Smith also knew



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  that the patients would not actually pay the copays because the vast majority didn't actually want

  to receive, or didn't know that they were going to receive, prescriptions for Fenortho, Lidopril,

  Lidopril XR, Lidocaine, Durachol, and Cifrazol.

                 (v)     To address this problem, Taneja and Kapoor agreed with Smith to make it

  appear as though the defendant paid a "manufacturers' coupon" for the full amount of each

  patient copay for the thousands of prescriptions purchased from Roix. Taneja and Kapoor then

  caused the defendant to establish a relationship with a third-party manufacturers' coupon rebate

  facilitator ("Rebate Facilitator# l "). Rebate Facilitator# 1 was already in the business of

  processing legitimate manufacturers' coupons on behalf of pharmaceutical manufacturers and

  paying the proceeds obtained from the manufacturers to pharmacies that were able to submit the

  manufacturers' coupon.

                 (w)     In a bona fide manufacturers' coupon: (i) the patients bring the coupon to

  the pharmacy, having obtained it directly from a doctor or the manufacturer; (ii) the pharmacy

  submits an electronic claim to Rebate Facilitator #I with the presented coupon code; (iii) Rebate

  Facilitator #1 cross-references the coupon code with its list of enrolled pharmaceutical

  manufacturers to determine how much to pay the pharmacy for the copay coupon; (iv) Rebate

  Facilitator #1 then pays the coupon amount to the pharmacy with a remittance indicating that the

  payment is for the patients' copay; and (v) Rebate Facilitator #1 then collects that copay coupon

  amount from the manufacturer, which bears the economic cost of the copay coupon.

                 (x)     In this situation, however, as Taneja, Kapoor, the defendant, and Smith

  knew, the patients never knew about any coupon, never spoke to a doctor, never heard of the

  defendant, and never presented anything to Alpha-Omega, Germaine, or Zoetic. Moreover,




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  Smith's pharmacies (Alpha-Omega, Germaine, and Zoetic) not the manufacturer (the defendant)

  funded the entirety of the copay coupon, a direct and intentional fraud upon the PBMs.

                 (y)     Taneja and Kapoor provided the defendant's Rebate Facilitator #1 coupon

  code directly to Smith who, in turn, caused Alpha-Omega, Germaine, and Zoetic to submit

  claims for the manufacturers' coupon to Rebate Facilitator #1 for essentially every single

  prescription purchased from Roix. Rebate Facilitator #1 processed those coupons, obtained

  reimbursement from the defendant, and paid the resulting amount to the submitting pharmacy -

  Alpha-Omega, Germaine, and Zoetic.

                 (z)     But, although the defendant sent money to Rebate Facilitator #1 , it didn't

  actually bear the economic cost of that payment. Instead, Taneja and Kapoor, upon receiving

  invoices from Alpha-Scrip, simply forwarded those invoices to Smith and told him to pay them,

  which Smith did using the money he extracted from Alpha-Omega, Germaine, and Zoetic's bank

  accounts.

                 (aa)    Thus, Taneja and Kapoor caused the defendant to help Smith launder

  money from Smith's pharmacies, through the defendant and Rebate Facilitator# I, back to

  Smith's pharmacies, all for the purpose of obtaining the remittance indicating that the patients'

  copays had been paid, which was false. This was done for the purpose of deceiving the PBMs

  into believing that the patients' copays had been paid, which was false.

                 (bb)    In sum, as the defendant knew and intended, Smith' s pharmacies paid the

  patients ' copays to themselves, as there was no economic substance to the defendant' s

  involvement in the process - its only purpose being to disguise the nature and origin of the

  payment and to pass it off, falsely, as a bona.fide a manufacturers' coupon. During the




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  conspiracy, this process was repeated for the full amount of thousands of patient copays for

  prescriptions purchased from Roix.

                  (cc)    In particular, on or about September 19, 2017, the defendant, with the

  intent to defraud and mislead, introduced, delivered, and caused to be introduced and delivered,

  into interstate commerce from Florida to the Eastern District of Tennessee, Cifrazol 3,775-lmg

  cap (NDC: 69336-0310-30), a drug that was misbranded in that its labeling was false and

  misleading in any pa1iicular (including, without limitation, in that it stated falsely that the

  product could only be taken pursuant to a prescription) and was dispensed to patient B.N.

  without a valid prescription of a practitioner licensed by law to administer such drug, which

  Alpha-Omega billed fraudulently to CVS Caremark and for which CVS Caremark paid Alpha-

  Omega approximately $1,464.

                 (dd)    The defendant understood that health care benefit programs, as defined by

  18 U .S.C. § 24(b), would reimburse for prescriptions pursuant to this scheme. Private insurance

 companies and self-insured groups are health care benefit programs. However, the defendant

  intended that no "federal health care program," as defined by 42 U .S.C. § l 320a-7b(f), would

 reimburse for Feno1iho, Lidopril, Lidopril XR, Lidocaine, Durachol, and Cifrazol or other

 Sterling Knight products. Because the defendant knew that the federal government imposed

 stricter regulatory requirements and had greater oversight than private health care benefit

 programs, the defendant went to lengths to ensure that no representations or claims were made to

 federal health care programs by itself, Alpha-Omega, Germaine, or Zoetic in connection with

 this scheme. In reality, federal health care programs made only modest and insubstantial

 payments to Alpha-Omega, Germaine, and Zoetic for Sterling-Knight products as part of this

 scheme. USA TNE and USDOJ-CPB are unaware of any statements or claims made by the



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   defendant or Mihir Taneja to any federal health care program in connection with this scheme.

   The defendant does not have any knowledge as to whether or not Andrew Assad, Peter Bolos,

   Michael Palso, Synergy, or Precision took any steps to prevent claims from being submitted to

   federal health care benefit programs as pa1t of this scheme.

                  (ee)   As a result of billing the PB Ms for misbranded prescription drugs, the

  pharmacies that were pait of this conspiracy caused an actual loss to the PB Ms in the amount

  of $20,981,786. This is the full amount that the PBM's paid to all pharmacies for invalid

  prescriptions purchased from Scott Roix and HealthRight for products manufactured or

  distributed by the defendant.

                  (ff)   The defendant knew that had the PBMs not been defrauded in the various

  ways described in this plea agreement, they would not have paid for claims for payment

  submitted by the pharmacies for prescriptions that were written in the absence of a valid doctor-

  patient relationship (including in the absence of any real communication between the prescribing

  doctor and the patient), for products that had been misbranded and fraudulently packaged as

  prescription drugs, and dispensed to patients who were deceived into providing their insurance

  information and who didn't want such products in the first place.

                  (gg)   The duly authorized representative of the defendant identified below has

  personal knowledge of many but not all of the facts set forth in this paragraph 4. In advance of

  signing this plea agreement on behalf of the defendant, the duly authorized representative has

  confirmed the accuracy of all the facts set forth in this paragraph 4.

          5.     The defendant is pleading guilty because the defendant is in fact guilty. The

  defendant understands that, by pleading guilty, the defendant is giving up several rights,

  including:



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                  (a)    the right to have his case presented to a grand jury for these crimes;

                  (b)    the right to plead not guilty;

                  (c)    the right to a speedy and public trial by jury;

                  (d)    the right to assistance of counsel at trial;

                  (e)    the right to be presumed innocent and to have the burden of proof placed

  on the United States to prove the defendant guilty beyond a reasonable doubt;

                 (f)     the right to confront and cross-examine witnesses against the defendant;

                 (g)     the right to testify on one's own behalf, to present evidence in opposition

  to the charges, and to compel the attendance of witnesses; and

                 (h)     the right not to testify and to have that choice not used against the

  defendant.

          6.     The parties agree that the appropriate disposition of this case would be the

  following as to each count:

                 (a)     The Court may impose any lawful terms of probation and any lawful fines

  up to the statutory maximums. Pursuant to Rule 1 l(c)(l)(B), and in consideration of the terms of

  this plea agreement (and taking into account the provisions of 18 U.S.C. § 3571(c) and (d), and

  the related fact that the defendant has agreed to pay restitution in advance of sentencing in the

  amount specified in this plea agreement) and the policy statement set fo11h in U.S.S.G.

  § 6B1.2(b) and related commentary, USATNE and USDOJ-CPB agree to recommend at the time

  of sentencing that any fine imposed by the Court not exceed $500,000.

                 (b)     The Court will impose special assessment fees as required by law; and

                 (c)     The Court may order forfeiture as applicable (see paragraph 10) and

  restitution as appropriate (see paragraph 9).



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                  (d)     No promises have been made by any representative of USA TNE or

   USDOJ-CPB to the defendant as to what the sentence will be in this case. Any estimates or

   predictions made to the defendant by defense counsel or any other person regarding any potential

   sentence in this case are not binding on the Court, and may not be used as a basis to rescind this

   agreement or withdraw the defendant's guilty plea. The defendant understands that the sentence

   in this case will be determined by the Court after it receives the presentence investigation report

   from the United States Probation Office and any information presented by the parties. The

   defendant acknowledges that the sentencing determination will be based upon the entire scope of

  the defendant's criminal conduct, the defendant' s criminal history, and pursuant to other factors

  and guidelines as set fo1ih in the Sentencing Guidelines and the factors set forth in 18 U.S.C. §

  3553.

          7.      Given the defendant's agreement to plead guilty, USATNE and USDOJ-CPB will

  not oppose a two-level reduction for acceptance of responsibility under the provisions of§

  3El.l(a) of the Sentencing Guidelines. Futiher, if the defendant's offense level is 16 or greater,

  and the defendant is awarded the two-level reduction pursuant to§ 3El.l(a), USATNE and

  USDOJ-CPB agree, at or before the time of sentencing, to move the Court to decrease the

  offense level by one additional level pursuant to § 3E 1.1 (b) of the Sentencing Guidelines.

  Should the defendant engage in any conduct or make any statements that are inconsistent with

  accepting responsibility for the defendant's offense, including violations of conditions of release

  or the commission of any additional offense(s) prior to sentencing, USA TNE and USDOJ-CPB

  will be free to decline to make such motion, to withdraw that motion if already made, and to

  recommend to the Court that the defendant not receive any reduction for acceptance of

  responsibility under § 3E 1.1 of the Sentencing Guidelines.



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          8.      The defendant agrees to pay the special assessment in this case prior to

  sentencing.

          9.      The defendant agrees that the Court shall order restitution, pursuant to any

  applicable provision of law, for any loss caused to: (1) the victims of any offense charged in this

  case; and (2) the victims of any criminal activity that was part of the same course of conduct or

  common scheme or plan as the defendant's charged offense. Pursuant to Rule 1 l(c)(l)(B) of the

  Federal Rules of Criminal Procedure, the pai1ies agree to recommend that the defendant be

  responsible, jointly and severally with Mihir Taneja and Arun Kapoor, for restitution in the

  amount of $20,981,786, which is the full amount that the PBM's paid to all pharmacies for

  invalid prescriptions purchased from Scott Roix and HealthRight for products manufactured or

  distributed by the defendant. The proposed restitution amounts described in this paragraph

  correspond to actual losses sustained by the health care benefit programs and their agents, the

  PBMs, as a result of the defendant's actions described in this plea agreement.

          I 0.    Unless otherwise limited by an agreed preliminary order of forfeiture, the

  defendant agrees to the entry of a money judgment against it, and in favor of the United States, at

  the time of sentencing. This money judgment will represent assets in the possession or control of

  the defendant or the defendant's nominees and that were derived, directly or indirectly, from

  proceeds traceable to the commission of a violation of 18 U.S.C. § 371. Specifically, the

  defendant agrees, in full satisfaction of its forfeiture obligations in this matter, to the following:

                  A personal money judgment in favor of the United States and against the defendant,
                  STERLING KNIGHT PHARMACEUTICALS, LLC, in the amountof$6,168,398,
                  which represents the amount of proceeds the defendant personally obtained from
                  the offense described above.

  The defendant agrees to pay the $6,168,398 to the United States Marshals Service at the time of

  sentencing.


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          The United States agrees that the monies paid by the defendant in forfeiture shall be

   credited against the amount due by the defendant in restitution. In sum, if the defendant pays the

   $6, 168,398 due as forfeiture, its restitution obligations, as described herein, shall be reduced by

  that amount.

          If the defendant fails to pay the $6,168,393 due at the time of sentencing, the defendant

  agrees to the provisions set forth in this paragraph. First, the defendant agrees to assist the

  United States fully in the identification, recovery, and return to the United States of any other

  assets or portions thereof subject to forfeiture. The defendant further agrees to make a full and

  complete disclosure of all assets over which the defendant exercises control and those which are

  held or controlled by a nominee. The defendant further agrees to forfeit all interests as described

  above and to take whatever steps are necessary to pass clear title to the United States. These

  steps include, but are not limited to, the surrender of title, the signing of a consent decree of

  forfeiture, and the signing of any other documents necessary to effectuate such transfers. The

  defendant further agrees not to object to any civil or criminal forfeiture brought against these

  properties. Finally, the defendant agrees to take all such steps to locate such property and to pass

  title to the United States before the defendant's sentencing.

          In the event a money judgment forfeiture is ordered, the defendant agrees to send all

  money judgment payments to the United States Marshals Service. Defendant also agrees that the

  full money judgment amount shall be considered due and payable immediately. If the defendant

  cannot pay the full amount immediately, the defendant agrees that the United States will have the

  authority to establish payment schedules to ensure payment of the money judgment. The

  defendant further agrees to cooperate fully in efforts to collect on the money judgment by set-off

  of federal payments, execution on non-exempt property, and any other means the United States



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  deems appropriate. The defendant and counsel also agree that the defendant may be contacted

  post-judgment regarding the collection of the money judgment without notifying defendant's

  counsel and outside the presence of the defendant's counsel.

          11.     The defendant agrees to pay all fines and restitution imposed by the Court to the

  Clerk of Court. The defendant also agrees that the full fine and/or restitution amount(s) shall be

  considered due and payable immediately. Notwithstanding any provision of this agreement to

  the contrary, the defendant agrees to pay the full amount ofrestitution to the Court, at or before

  the sentencing. If the defendant cannot pay the full amount immediately, the defendant agrees

  that Probation Office will have the authority to establish payment schedules to ensure payment of

  the fine and/or restitution. The defendant fu11her agrees to cooperate fully in effo11s to collect

  any financial obligation imposed by the Court by set-off of federal payments, execution on non-

  exempt property, and any other means the United States deems appropriate. The defendant and

  counsel also agree that the defendant may be contacted post-judgment regarding the collection of

  any financial obligation imposed by the Com1 without notifying the defendant's counsel and

  outside the presence of the defendant's counsel. In order to facilitate the collection of financial

  obligations to be imposed with this prosecution, the defendant agrees to disclose fully all assets

  in which the defendant has any interest or over which the defendant exercises control, directly or

  indirectly, including those held by a nominee or other third party. In the event that the defendant

  fails to fulfill any financial obligation under this agreement in a timely fashion, the defendant

  additionally agrees to the following specific tenns and conditions:

                 (a)     If so requested by USA TNE or USDOJ-CPB, the defendant will promptly

  submit a completed financial statement to USA TNE and USDOJ-CPB, in a form it or they




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  provide and as it or they direct. The defendant promises that such financial statement and

  disclosures will be complete, accurate, and truthful.

                  (b)     The defendant expressly authorizes USA TNE and USDOJ-CPB to obtain

  a credit report on the defendant in order to evaluate the defendant's ability to satisfy any

  financial obligation imposed by the Court.

                  (c)     If so requested by USA TNE or USDOJ-CPB, the defendant will promptly

  execute authorizations on forms provided by USA TNE and USDOJ-CPB to permit USA TNE

  and USDOJ-CPB to obtain financial and tax records of the defendant.

          12.     The defendant understands that if the defendant holds any regulatory licenses or

  permits, or is contracted with any federal, state, or local governmental entity, the conviction in

  this case may result in the suspension or revocation of those licenses and permits or the

  termination of those contracts. The defendant understands that the defendant may not use

  anticipated or unanticipated collateral consequences such as these as a basis for withdrawing the

  defendant's guilty plea.

          13.     Within three (3) business days' of the public filing of this fully-signed plea

  agreement, the defendant shall make this plea agreement and the associated information

  conspicuously available to the public on the home page of its primary website for four (4)

  consecutive years, and shall communicate to all of defendant's employees that it has entered into

  this agreement and make available the information and this agreement.

          14.    The defendant agrees that, effective upon the later to occur of either the sentence

  of the defendant in this matter or January 1, 2022, it shall not engage in the distribution,

  dispensing, or sale of any drugs or dietary supplements for the duration of any term of probation

  assigned by the Court in this matter. In the interim, to the extent that the defendant does engage



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  in the distribution, dispensing, or sale of any drugs or dietary supplements, the defendant also

  agrees that it shall adopt reasonable policies and procedures to ensure that it and its employees

  do not commit further violations of any federal law and do not facilitate the commission of fraud

  or deceit against any health care benefit program in connection with the sale, distribution, or

  dispensing of the defendant's products. These policies and procedures shall ensure, among other

  things, that the defendant: (a) does not cause any food product to be incorrectly branded or

  packaged as a drug or prescription drug; (b) does not promote, sponsor, or facilitate any copay

  coupon program, or other similar program, except to the extent that such copay coupon complies

  with all applicable laws and regulations; and (c) takes reasonable measures to ensure that any

  copay coupon program, or other similar program, promoted, sponsored, or facilitated by the

  defendant is not used by any pharmacy or wholesaler to subvert any obligation under any

  provider manual, provider agreement, or other agreement governing the relationship between

  such entity and any health care benefit program, or to defraud or deceive any health care benefit

  program. The defendant shall ensure that all its employees are aware of and familiar with these

  policies and procedures on at least an annual basis.

          15.    This agreement shall bind the defendant, its successor entities (if any), parent

  companies to the extent they assume the liabilities contained herein, and any other person or

  entity that assumes the liabilities contained herein ("successors-in-interest"). The defendant, or

  its successors-in-interest, if applicable, shall provide USA TNE and USDOJ-CPB with immediate

  notice of any name change, business reorganization, sale or purchase of assets, divestiture of

  assets, or similar action affecting the defendant's ability to pay any fine ordered by the Court or

  affecting this agreement. No change in name, change in corporate or individual control, business

  reorganization, change in ownership, merger, change of legal status, sale or purchase of assets, or



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   similar action shall alter the defendant' s responsibilities under this agreement. The defendant

   shall not engage in any action to seek to avoid the obligations and conditions set fmth in this

   agreement. If such transaction or series of transactions has the effect of circumventing or

   frustrating the purposes of this agreement, as determined in the sole discretion of USA TNE or

   USDOJ-CPB, it shall be deemed a breach of this agreement.

           16.    The defendant acknowledges that the principal benefits to USATNE and USDOJ-

   CPB of this agreement include the conservation of limited government resources and bringing a

   certain end to the case. Accordingly, in consideration of the concessions made by USA TNE and

   USDOJ-CPB in this agreement and as a fmther demonstration of the defendant's acceptance of

   responsibility for the offense committed, the defendant voluntarily, knowingly, and intentionally

   agrees to the following:

                  (d)     The defendant will not file a direct appeal of the defendant's conviction or

   sentence with one exception: The defendant retains the right to appeal a sentence imposed above

  the sentencing guideline range determined by the Court or above any mandatory minimum

  sentence deemed applicable by the Court, whichever is greater. The defendant also waives the

  right to appeal the Court's determination as to whether the defendant's sentence will be

  consecutive or partially concurrent to any other sentence.

                  (e)    The defendant will not file any motions or pleadings pursuant to 28 U.S.C.

  § 2255 or otherwise collaterally attack the defendant's conviction or sentence, with two

  exceptions: The defendant retains the right to file a§ 2255 motion as to (i) prosecutorial

  misconduct and (ii) ineffective assistance of counsel.

                  (f)    The defendant will not, whether directly or by a representative, request or

  receive from any department or agency of the United States any records pertaining to the



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  investigation or prosecution of this case, including, without limitation, any records that may be

  sought under the Freedom oflnfonnation Act, 5 U.S.C. § 552, or the Privacy Act of 1974, 5

  U.S.C. § 552a.

          17.      This plea agreement becomes effective once it is signed by the paiiies and is not

  contingent on the defendant's entry of a guilty plea. The defendant's signature on this plea

  agreement constitutes the defendant's admission that the facts contained herein are true and

  accurate. IfUSATNE or USDOJ-CPB violate the terms of this agreement, the defendant will

  have the right to withdraw from this agreement. If the defendant violates the terms of this

  agreement in any way (including, without limitation, by failing to enter a guilty plea as agreed

  herein, moving to withdraw guilty plea after entry, or by violating any court order or any local,

  state, or federal law pending the resolution of this case), then USA TNE or USDOJ-CPB will

  have the right to void any or all parts of the agreement and may also enforce whatever paiis of

  the agreement it chooses. In addition, USA TNE or USDOJ-CPB may prosecute the defendant

  for any and all federal crimes that the defendant committed related to this case, including any

  charges that were dismissed and any other charges that USA TNE and USDOJ-CPB agreed not to

  pursue. The defendant expressly waives any statute of limitations defense and any constitutional

  or speedy trial or double jeopardy defense to prosecution for the conduct contemplated by this

  agreement. The defendant also understands and agrees that a violation of this agreement by the

  defendant does not entitle the defendant to withdraw the defendant's guilty plea in this case.

         18.       The United States will file a supplement in this case, as required in every case by

  the Local Rules of the United States District Court for the Eastern District of Tennessee, even

  though there may or may not be any additional terms. If additional terms are included in the

  supplement, they are hereby fully incorporated herein.



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           19.    This plea agreement and supplement constitute the full and complete agreement

   and understanding between the parties concerning the defendant's guilty plea to the above-

   referenced charges, and there are no other agreements, promises, undertakings, or understandings

   between the defendant and the United States. The parties understand and agree that the terms of

   this agreement can be modified only in writing signed by all of the parties and that any and all

   other promises, representations, and statements whether made before, contemporaneous with, or

   after this agreement, are null and void.

                                               * * * * *




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                                               J. Douglas Overbey
                                               United States Attorney




                                               By:




                                               By:
    Date                                              1      • Heavener, III
                                                      Assistant United States Attorney




     IZ /uJ /4      (l
    Date                                              David L. Gunn
                                                      Trial Attorney
                                                      U.S. Department of Justice
                                                      Consumer Protection Branch




                                               For the Defendant        ~


     II   I.Jo/ 2.p,v:>                                    ,~~
    oatb /                                            AruriKappd'f
                                                      Duly Authorized Representative of
                                                      the defendant Sterling Knight
                                                      Pharmaceuticals LLC


     I1/30 f?-o 2-°
    Date                                                  ee Bentley, III
                                                      Attorney for the defendant Sterling Knight
                                                      Pharmaceuticals, LLC



    Date   •
                                                      Attorney for the defendant Sterling Knight
                                                      Pharmaceuticals, LLC




                Signature Page to Sterling-Knight Pharmaceuticals, LLC Plea Agreement




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                                       Certification of the Defendant

           I have been duly authorized according to the bylaws and relevant organizational

   documents of the defendant Sterling Knight Pharmaceuticals, LLC ("the defendant") to enter

   into this agreement on behalf of the defendant. I have read this agreement in its entirety. I have

   had enough time to review and consider this agreement, and I have carefully and thoroughly

   discussed every part of it with the defendant' s attorney. I understand the terms of this

   agreement, and I voluntarily agree to those terms on behalf of the defendant. I have discussed

   the evidence with the defendant' s attorney, and defendant' s attorney has advised me of

   defendant's rights, of possible pretrial motions that might be filed, of possible defenses that

   might be asserted either prior to or at trial, of the sentencing factors set forth in 18 U.S.C.

   § 3553(a), ofrelevant Sentencing Guidelines provisions, and of the consequences of entering

   into this agreement. No promises, inducements, or representations of any kind have been made

   to me or to the defendant other than those contained in this agreement. No one has threatened or

   forced me or the defendant in any way to enter into this agreement. I am satisfied with the

  representation of the defendant's attorney in this matter, and I am pleading guilty on behalf of

  the defendant because the defendant is guilty of the charge and wishes to take advantage of the

  promises set forth in this agreement, and not for any other reason.



  Aro~~
  Date:1/Jo/~
  A duly authorized representative of the
  defendant Sterling Knight Pharmaceuticals, LLC




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